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                                    ATTORNEYS              AT    LAW



                                                                                                   EDWARD J. O'CONNELL
                                                                                                    1925-1939
July 12,2019                                                                                       SAMUELE. ARONOWITZ
                                                                                                    1925-1973
                                                                                                   LEWIS A. ARONOWITZ
                                                                                                    1951-1979
Via ECF
                                                                                                   IN MEMORIAM
Honorable Brenda K. Sannes                                                                         F. MATTHEW JACKSON
U.S. District Court                                                                                 2013-2019

Northern District of New York
Federal Building and U.S. Courthouse                                                               CORNELIUS D. MURRAY
                                                                                                   STEPHEN R. COFFEY
PO Box 7336                                                                                        JEFFREY J, SHERRIN
Syracuse, New York 13261-7336                                                                      THOMAS J. DINOVO
                                                                                                   PAMELA A. NICHOLS
                                                                                                   JEFFREY A. SIEGEL
Re:    Doe v. Rensselaer Polytechnic Institute, et al                                              JAMI DURANTE ROGOWSKI
                                                                                                   DAVID R. ROSS
       Case No. l:19-cv-719 (BKS/DJS)                                                              KURT E. BRATTEN
                                                                                                   MICHAEL P. McDERMOTT
                                                                                                   KELLY J. MIKULLITZ
Dear Judge Sannes:                                                                                 WILLIAM F. BERGLUND
                                                                                                   ROBERT J. KOSHGARIAN
                                                                                                   MATTHEW J. DORSEY
        We represent the Plaintiff in the above matter and write to request that our               GEORGE R. SLINGERLAND
deadline to file our Reply be extended from today until Monday, July 15 th • The                   SCOTT W. ISEMAN
                                                                                                   BRITTNAYM. McMAHON
additional time is requested because yesterday we were provided access to materials                DANIELLE E. HOLLEY
related to the retaliation complaint that impacts our pending motion for a Temporary
Restraining Order and Preliminary Injunction and may impact our Reply related to that                   SENIOR COUNSEL
pending motion. We conferred with opposing counsel and they consent to this request.               FRED B. WANDER



                                         Very truly yours,                                              OF COUNSEL
                                                                                                   RICHARDS. HARROW
                                                                                                   MEREDITH H. SAVITT
                                          O'CONNELL AND ARONOWITZ                                  PAULA. FEIGENBAUM
                                                                                                   ARTHUR A. PASQUARIELLO
                                                                                                   FLORENCE M. RICHARDSON


                                                 ~
                                         By:                                                       CRISTINA D. COMMJSSO
                                                                                                   GRAIG F. ZAPPIA
                                                                                                   DANIEL/. TUCZINSKI
                                                  Scott W. Iseman                                  KAREN MARTINO VALLE
                                                                                                   ROLAND M. CAVALIER
cc:    All parties (ECF)
                                                                                                   CHAD A. JEROME
                                                                                                   MICHAEL Y. HAWRYLCHAK
                                                                                                   MARY T. CONNOLLY
                                                                                                   COURTNEY L. ALPERT
                                                                                                   ANDREWKO
                                                                                                   JULIA V. KOSJNESKI

                                                                                                   HOLLY E. VEGAS*
                                                                                                   (DIRECTOR, HEAL TH CAR/I
                                                                                                   CONSULT/NG GROUP}


                                                                                                   *NOT A MEMBER OF THE
                                                                                                   LEGAL PRACTICE


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